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                                                                                                              U.S. DISTRICT COURT
                                                                                                                  N.D. OF ALABAMA


                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                     EASTERN DIVISION

 UNITED STATES OF AMERICA,                                }
                                                          }
 v.                                                       }
                                                          }    Case No.: 1:15-CR-00183-RDP-JHE-1
 HUEY MATTHEW HAYNES,                                     }
                                                          }
            Defendant.                                    }


                              MEMORANDUM OPINION AND ORDER

        This matter is before the court on Defendant Huey Matthew Haynes’s Motion for

Compassionate Release under 18 U.S.C. § 3582(c)(1)(A) due to COVID-19. (Doc. # 35). For the

reasons set forth below, the Defendant’s Motion is due to be denied.

I.      Background

         On August 13, 2015, Defendant pleaded guilty to one count charging him with Possession

with Intent to Distribute 50 grams or more of a substance containing methamphetamine, in

violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(B), and to another charging Carrying a Firearm

during and in relation to a Drug Trafficking Crime, in violation of 18 U.S.C. § 924(c). (Doc. # 11).

Defendant was sentenced to a term of eighty-four (84) months in prison as to Count One, plus

Sixty (60) months in prison as to Count Two, to be served consecutively. (Doc. # 33). According

to the Bureau of Prisons’s (“BOP”) website, Defendant’s projected release date is May 16, 2024.1

Defendant is a 40-year-old male. He is incarcerated in the low-security facility at the Federal

Correctional Institution at Yazoo, Mississippi (Yazoo City Low FCI), a facility that has

experienced an outbreak of COVID-19 cases. As of September 11, 2020, Yazoo City Low FCI


        1
          The Federal Bureau of Prisons’s website provides information about an inmate’s projected release date. The
following is a link to the inmate locator section of the website: https://www.bop.gov/inmateloc/.
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reports that four staff members (but no inmates) have active cases of COVID-19. Three inmates

have succumbed to the virus at Yazoo City Low FCI. Ninety-four inmates and nine staff members

have recovered from COVID-19.2 Defendant has moved the BOP to grant compassionate release

and now brings this motion following the BOP’s failure to respond to his request. (Doc. # 35).

According to Defendant, he has contracted COVID-19 and “is in [g]rave [d]anger of contracting

the virus again.” (Doc. # 35 at 2).

II.     Legal Standard

        Pursuant to 18 U.S.C. § 3582(b), a judgment of conviction that includes a sentence of

imprisonment “constitutes a final judgment and may not be modified by a district court except in

limited circumstances.” Dillon v. United States, 560 U.S. 817, 824 (2010) (internal quotations

omitted). The exception in 18 U.S.C. § 3582(c)(1)(A) provides that when a defendant has

exhausted his or her administrative remedies the court may exercise its discretion to reduce the

term of imprisonment after considering the factors set forth in 18 U.S.C. § 3553(a) if 1)

extraordinary and compelling reasons warrant such a reduction and 2) such a reduction is

consistent with applicable policy statements. United States v. Smith, 2020 WL 2512883, at *2

(M.D. Fla. May 15, 2020). “The defendant generally bears the burden of establishing that

compassionate release is warranted.” Id. (citing United States v. Hamilton, 715 F.3d 328, 337 (11th

Cir. 2013)).

III.    Analysis

        Defendant argues that the spread of COVID-19, in combination with his previous

contraction of the disease, presents an extraordinary and compelling reason justifying his release.



        The following is a link to the Bureau of Prisons’s website that provides public information regarding
        2

COVID-19 cases: https://www.bop.gov/coronavirus/.


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(Doc. # 55 at 3). Compassionate-release motions arise under 18 U.S.C. § 3582(c)(1)(A)(i), which

states:

          The court may not modify a term of imprisonment once it has been imposed except
          that . . . the court, upon motion of the Director of the Bureau of Prisons, or upon
          motion of the defendant after the defendant has fully exhausted all administrative
          rights to appeal a failure of the Bureau of Prisons to bring a motion on the
          defendant’s behalf or the lapse of 30 days from the receipt of such a request by the
          warden of the defendant’s facility, whichever is earlier, may reduce the term of
          imprisonment (and may impose a term of probation or supervised release with or
          without conditions that does not exceed the unserved portion of the original term
          of imprisonment), after considering the factors set forth in section 3553(a) to the
          extent that they are applicable, if it finds that ... extraordinary and compelling
          reasons warrant such a reduction . . . and that such a reduction is consistent with
          applicable policy statements issued by the Sentencing Commission[.]

          A.     Administrative Exhaustion Requirement

          A district court is not free to modify a term of imprisonment once it has been imposed,

except in two circumstances: upon motion of the Director of the BOP; or upon motion by a

defendant, after he has fully exhausted all administrative rights to appeal a failure of the BOP to

bring a motion on his behalf, or thirty days has elapsed from receipt of such a request by the

Warden of the defendant’s facility, whichever is earlier. 18 U.S.C. § 3582(c)(1)(A); see also

United States v. Celedon, 353 F. App’x 278, 280 (11th Cir. 2009).

          After reviewing the applicable law and facts presented here, the court finds that Defendant

has satisfied the compassionate release statute’s 30-day exhaustion requirement. (See Doc. # 35 at

3). It appears that more than thirty days have lapsed since the Warden received Defendant’s request

on April 25, 2020, as the Warden has not responded to the request. (Doc. # 35 at 3).

          B.     Section 3553(a) Factors and Extraordinary and Compelling Reasons

          Although Defendant has demonstrated that he satisfied the statute’s exhaustion

requirement, the question still remains whether, “considering the factors set forth in [§] 3553(a),”




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“extraordinary and compelling reasons warrant” a reduction in his sentence, “consistent with

applicable policy statements issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A)(i).

       United States Sentencing Guideline § 1B1.13 is the applicable policy statement related to

compassionate release. United States v. McCall, 2020 WL 2992197, at *2 (M.D. Ala. June 4,

2020). That section, which was adopted before Congress authorized a defendant to seek relief

under § 3582(c) on his own behalf, essentially reiterates the requirements of § 3582(c)(1)(A), with

the additional requirement that a defendant “not be a danger to the safety of any other person or to

the community.” U.S.S.G. § 1B1.13(2). The application notes to § 1B1.13 provide examples of

extraordinary and compelling reasons to grant a compassionate release. In particular, Application

Note 1 states:

       Provided the defendant [is not a danger to the safety of any other person or to the
       community], extraordinary and compelling reasons exist under any of the circumstances
       set forth below:

                 (A) Medical Condition of the Defendant --

                        (i) The defendant is suffering from a terminal illness[.]

                        (ii) The defendant is [suffering from a health condition] that substantially
                        diminishes the ability of the defendant to provide self-care within the
                        environment of a correctional facility and from which he or she is not
                        expected to recover.

                 (B) Age of the Defendant -- The defendant (i) is at least 65 years old; (ii) is
                 experiencing a serious deterioration in physical or mental health because of the
                 aging process; and (iii) has served at least 10 years or 75 percent of his or her term
                 of imprisonment, whichever is less.

                 (C) Family Circumstances --

                        (i) The death or incapacitation of the caregiver of the defendant’s minor
                        child or minor children.

                        (ii) The incapacitation of the defendant’s spouse or registered partner when
                        the defendant would be the only available caregiver for the spouse or
                        registered partner.


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               (D) Other reasons -- As determined by the Director of the Bureau of Prisons, there
               exists in the defendant’s case an extraordinary and compelling reason other than,
               or in combination with, the reasons described in subdivisions (A) through (C).

U.S.S.G. § 1B1.13, Application Note 1. As noted, the basis for compassionate release must be

“consistent with” this policy statement. 18 U.S.C. § 3582(c)(1)(A)(i).

       Here, Defendant has failed to demonstrate extraordinary and compelling reasons to reduce

his sentence. Defendant argues that he is in danger of contracting COVID-19 a second time. (Doc.

# 35 at 2). Application Note 1(A)(ii) applies to conditions from which an inmate “is not expected

to recover,” and there is no evidence showing that Defendant would not be expected to recover if

he contracted COVID-19. Indeed, he has contracted the disease already and recovered without

complication. (Doc. # 35 at 1). While it is certainly unfortunate that Defendant is among those

federal inmates who contracted COVID-19, the court cannot say, on this record, that he is at higher

risk or would otherwise be better off were he released from incarceration now. Thus, Defendant’s

condition does not present “extraordinary and compelling reasons warrant[ing a sentence]

reduction.” 18 U.S.C. § 3582(c)(1)(A)(i); see United States v. Weidenhamer, 2019 WL 6050264,

at *5 (D. Ariz. Nov. 8, 2019) (“conditions that can be managed in prison are not a sufficient basis

for compassionate release.”).

       Even if extraordinary and compelling reasons existed, the guideline factors in § 1B1.13

and the statutory factors in § 3553(a) weigh against compassionate release in Defendant’s case. To

begin, § 1B1.13(2), which § 3582(c) incorporates, states that a sentence may be reduced only when

“[t]he defendant is not a danger to the safety of any other person or to the community, as provided

in 18 U.S.C. § 3142(g).” Defendant notes that he “has had clear conduct and never had an incident

report.” (Doc. # 35 at 2). He also highlights the time that he has spent on his education and




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rehabilitation while incarcerated. (Id.). However, the relevant factors and guidelines weigh against

compassionate release in Defendant’s case.

          Starting with recidivism, the Pre-Sentence Investigation Report (“PSR”) indicates that

Defendant had at least two prior drug felonies when he committed the offenses for which he is

currently imprisoned, in addition to convictions for other crimes. (Doc. # 31 at 26). Specifically,

in 2010, Defendant was convicted of Breaking and Entering a Vehicle (sentenced with other

convictions in the same year). (Id. at 15-16). Also, in 2012, Defendant was convicted of multiple

counts related to Theft by Taking. (Id. at 17). To be sure, Defendant qualified for enhanced

guideline sentencing (that is, a Category VI criminal history score) based on his recidivist history.

(Id. at 9). United States v. Ortiz, 636 F.3d 389, 394 (8th Cir. 2011) (discussing that district court

described defendant as a “serial” perpetrator with a criminal history in Category VI). This criminal

history indicates that there is a risk of recidivism.

          As to whether the offense was non-violent, § 1B1.13(2) incorporates by reference 18

U.S.C. § 3142(g), which provides factors to determine whether a person is a “danger to the safety

of any other person or the community.” Among those factors is whether the defendant possessed

a firearm; whether the offense involved a controlled substance; and whether, at the time of current

offense, the person was on probation, parole, or other release pending completion of a sentence.

18 U.S.C. § 3142(g). Indeed, Defendant was convicted of possessing a firearm and possession of

a controlled substance. (Doc. # 33 at 1). In sum, Defendant poses a danger to the community.3

          For all the reasons stated herein, the court determines Defendant’s motion is due to be

denied.


         3
           Some courts have concluded that the term “safety of the community” refers “not only to the mere danger
of physical violence but also to the danger that the defendant might engage in criminal activity to the community’s
detriment.” United States v. Mackie, 876 F. Supp. 1489, 1491 (E.D. La. 1994) (reviewing same phrase in 18 U.S.C.
§ 3148, which, like 1B1.13 incorporates § 3142(g)). That is certainly true here.

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IV.   Conclusion

      The court has considered all arguments. Those not addressed would not have changed the

outcome. For the foregoing reasons, Defendant’s Motion for Compassionate Release due to

COVID-19 (Doc. # 35) is DENIED.

      DONE and ORDERED this September 11, 2020.



                                         _________________________________
                                         R. DAVID PROCTOR
                                         UNITED STATES DISTRICT JUDGE




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